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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                J. Hilburn, Inc,

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  12700 Park Central Drive, Suite 2000
                                  Dallas, TX 75251
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.jhilburn.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    J. Hilburn, Inc,                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                 proceed under Subchapter V of Chapter 11.
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   J. Hilburn, Inc,                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    J. Hilburn, Inc,                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 30, 2020
                                                  MM / DD / YYYY


                             X   /s/ David DeFeo                                                          David DeFeo
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ Patrick J. Neligan, Jr.                                               Date April 30, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Patrick J. Neligan, Jr. 14866000
                                 Printed name

                                 Neligan LLP
                                 Firm name

                                 325 N. St. Paul
                                 Suite 3600
                                 Dallas, TX 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     214-840-5300                  Email address      www.neliganlaw.com

                                 14866000 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                              WRITTEN CONSENT
                 OF THE BOARD OF DIRECTORS OF J. HILBURN, INC.

        The undersigned members of the duly elected and acting Board of Directors (the “Board”)
of J. Hilburn, Inc. (the “Company”), a corporation organized and existing under and by virtue of
the laws of the State of Delaware, do hereby consent to, approve and adopt the following
resolutions effective as of April 22, 2020.

        RESOLVED, that in the judgment of the Board it is desirable and in the best interests of
the Company, its creditors, and other interested parties that the Company agree to the major terms
of the proposed Restructuring Support Agreement, as it was described and discussed during the
April 22, 2020 meeting of the Board (the “RSA”); and be it

         FURTHER RESOLVED that in the judgment of the Board it is desirable and in the best
interests of the Company, its creditors, and other interested parties that a voluntary petition for
relief (the “Petition”) be filed by the Company under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Case”), 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”)
based on the general terms described and discussed by the Board at such date and time as
management deems appropriate; and be it

       FURTHER RESOLVED, that the Company shall be, and hereby is, authorized, directed,
and empowered to file the Petition and to perform any and all such acts as are reasonable,
advisable, expedient, convenient, proper, or necessary to effect any of the foregoing; and be it

       FURTHER RESOLVED, that David DeFeo, the Company’s Chief Executive Officer and
Joseph Dixon, the Company’s Chief Operating Officer, (the “Designated Officers”) are hereby
authorized, directed and empowered, on behalf of and in the name of the Company: (i) to execute
and verify the Petition and all other ancillary documents to cause the Petition to be filed with the
United States Bankruptcy Court for the Northern District of Texas and to make or cause to be
made prior to execution thereof any modifications to the Petition or ancillary documents; (ii) to
execute, verify, and file or cause to be filed all petitions, schedules, lists, motions, applications,
and other papers or documents necessary or desirable in connection with the foregoing; and (iii)
to execute and verify any and all documents necessary or appropriate in connection therewith in
such form or forms as either Designated Officers may approve; and be it

        FURTHER RESOLVED, that the Company shall be, and hereby is, authorized, directed,
and empowered to obtain debtor-in-possession financing in accordance with the terms of the RSA
in order to fund the Company’s operations during the Bankruptcy Case and the anticipated
administrative expenses to be incurred during the Bankruptcy Case, and that the Designated
Officers be, and hereby are, authorized, directed, and empowered to execute and verify any and
all documents necessary or appropriate in connection therewith in such form or forms as one or
both of the Designated Officers may approve; and be it

        FURTHER RESOLVED, that the Designated Officers be, and hereby are, authorized,
directed and empowered from time to time, in the name and on behalf of the Company, to take
such actions and execute and deliver such certificates, instruments, notices and documents as may
be required or which either or both of the Designated Officers may deem necessary, advisable or
proper to carry out and perform the obligations of the Company under the Bankruptcy Code; all
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such actions to be performed in such manner, and all such certificates, instruments, notices and
documents to be executed and delivered in such form, as one or both of the Designated Officers
performing or executing the same shall, with the advice of counsel, approve, the performance or
execution thereof by such officer(s) to be conclusive evidence of the approval thereof by such
officer and by the Company; and be it

       FURTHER RESOLVED, that one or both of the Designated Officers are authorized,
empowered, and directed to represent the Company, as debtor and debtor in possession, in
connection with the Bankruptcy Case and to hire such professionals as deemed necessary and
appropriate by the Designated Officers to carry out and effectuate the restructuring and successful
emergence from bankruptcy; and be it

        FURTHER RESOLVED that the Board has previously approved and hereby ratifies the
retention of Neligan LLP as counsel to the Company to advise the Company with respect to pre-
bankruptcy planning and preparation, negotiation with the Company’s creditors and equity
holders, including negotiation of the RSA, preparation for and filing of the Bankruptcy Case and
representing the Company in the Bankruptcy Case; and be it

        FURTHER RESOLVED, that, in addition to the specific authorizations heretofore
conferred upon the Designated Officers, each is hereby authorized, directed and empowered, in
the name and on behalf of the Company, to do or cause to be done all such further acts and to
execute and deliver all such other instruments, certificates, agreements and documents as that
Designated Officer may, with the advice of counsel and if possible, input from the other
Designated Officer, consider necessary or appropriate to enable the Company to carry out the
intent and to accomplish the purpose of the foregoing resolutions provided that the ordinary course
corporate duties, rights and role of each Designated Officer shall not change with respect to the
Company’s business operations and general corporate decision making; and be it

       FURTHER RESOLVED, that all actions heretofore taken by either or both Designated
Officers in connection with the foregoing resolutions be, and hereby are, confirmed, ratified and
approved in all respects.

       IN WITNESS WHEREOF, the undersigned has caused this Written Consent to be executed
as of April 22, 2020.


J. HILBURN, INC.
a Delaware Corporation

By:




 Name: Steve Salzinger
 Title: Director
                                                2
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 Name: Joe Dixon                           Name: Dave DeFeo
 Title: Director                           Title: Director




 Name: Michael Brown                       Name: Andy Janowski
 Title: Director                           Title: Director




                                       3


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 Name: Joe Dixon                           Name: Dave DeFeo
 Title: Director                           Title: Director




 Name: Michael Brown                       Name: Andy Janowski
 Title: Director                           Title: Director




                                       3


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 Name: Joe Dixon                               Name: Dave DeFeo
 Title: Director                               Title: Director




 Name: Michael Brown                           Name: Andy Janowski
 Title: Director                               Title: Director




                                           3


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 Fill in this information to identify the case:
 Debtor name J. Hilburn, Inc,
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS                                                                               Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TAL Global                                                     Trade debt                                                                                            $6,550,974.33
 Alliances Limited
 TAL Building, 3rd
 Floor
 49 Austin Road
 Kowloon, Hong
 Kong
 Escalate Capital                                               Term Note                                                                                             $2,725,052.00
 Partners
 6011 W. Courtyard
 Drive, #405
 Austin, TX 78730
 Criaime Rua do                                                 Trade debt                                                                                              $806,052.96
 Facho
 no. 41-4580-627
 Sobrosa-Paredes
 Portugal
 UPS Supply Chain                                               Trade debt                                                                                              $665,957.24
 Solutions, Inc.
 28013 Network
 Place
 Chicago, IL
 60673-1280
 UPS                                                            Trade debt                                                                                                $89,529.25
 P.O. Box 7247-0244
 Philadelphia, PA
 19170-0001
 McKnight Park                                                  Trade debt                                                                                                $89,365.11
 Central, LLC
 P.O. Box 208359
 Dallas, TX
 75320-8359
 ColorDynamics, Inc.                                            Trade debt                                                                                                $76,527.00
 200 E. Bethany
 Drive
 Allen, TX 75002



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    J. Hilburn, Inc,                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 IMPAK                                                          Trade debt                                                                                                $63,600.44
 P.O. Box 833129
 Richardson, TX
 75083
 Tandem Business                                                Trade debt                                                                                                $42,618.05
 Strategies, LLC
 15400 Knoll Trail
 Drive, Suite 503
 Dallas, TX 75248
 Magna Leather                                                  Trade debt                                                                                                $33,333.60
 Corp.
 6841 Commerce
 Avenue
 El Paso, TX 79915
 CI ATL III-GW, LLC                                             Trade debt                                                                                                $28,687.94
 P. O. Box 208392
 Dallas, TX
 75320-8392
 Ratti SpA                                                      Trade debt                                                                                                $27,736.03
 c/o Unicredit S.p.A
 New York Branch
 Lock Box Service
 150 East 42nd
 Street, 28th Floor
 New York, NY
 10017-4679
 Seven Meridian                                                 Trade debt                                                                                                $25,780.00
 40011 Anzola
 Emilia BO
 Italy
 DL Denim                                                       Trade debt                                                                                                $24,641.55
 CIT Group
 P.O. Box 1038
 Charlotte, NC
 28201-1036
 Hubspot, Inc.                                                  Trade debt                                                                                                $18,819.91
 P. O. Box 419842
 Boston, MA
 02241-9842
 L&B Deep Inwood                                                Trade debt                                                                                                $15,621.20
 Village, L.P.
 c/o Institutional
 Property Managers,
 Inc
 Attn: Property
 Manger
 5470 W. Lovers
 Lane, Suite 331
 Dallas, TX 75209




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    J. Hilburn, Inc,                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TERSE Branding                                                 Trade debt                                                                                                $15,250.00
 LLC
 8213 Meadow Road,
 Apt. #1304
 Dallas, TX 75231
 Musikaar B-604/605                                             Trade debt                                                                                                $11,872.00
 Shapath 4, Opp.
 Karnacati Club
 S.G. Highway,
 Ahmedabad 380051
 Guarat, India
 Hendry Insurance                                               Trade debt                                                                                                $11,409.00
 LLC
 9300 John Hickman
 Parkway, Suite 603
 Frisco, TX 75035
 Nasign Co., Ltd.                                               Trade debt                                                                                                  $9,670.75
 #286-1 Dongil-ro
 Quangjin-gu
 Seoul, Korea 04995




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Northern District of Texas
 In re      J. Hilburn, Inc,                                                                           Case No.
                                                                                 Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for J. Hilburn, Inc, in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Baseline Commerce Seed Fund LLC
 Attn: Steve Anderson
 1800 Filbert Street
 San Francisco, CA 94123
 Battery Ventures VIII, L.P.
 c/o Battery Ventures Reservoir Woods
 930 Winter Street, Suite 2500
 Waltham, MA 02451
 Bridgescale Partners
 Attn: Matthew Cowan
 2200 Sand Hill Road, #240
 Menlo Park, CA 94025
 Buaite Againn, LLP
 c/o Elevage Capital Management LLC
 7001 Preston Road, Suite 400
 Dallas, TX 75205
 Lotus Holdings, Ltd.
 Attn: Veeral Rathod
 2900 McKinnon Street, Unit 805
 Dallas, TX 75201
 South China (Jersey) Holdings
 49 Austin Road
 Kowloan
 Hong Kong




 None [Check if applicable]




                                                                       /s/ David DeFeo
 Date                                                                 David DeFeo
                                                                      Signature of Attorney or
                                                                      Litigant      J. Hilburn, Inc.



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 Fill in this information to identify the case:

 Debtor name         J. Hilburn, Inc,

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration               Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 30, 2020                          X /s/ David DeFeo
                                                                       Signature of individual signing on behalf of debtor

                                                                       David DeFeo
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               United States Bankruptcy Court
                                                                       Northern District of Texas
 In re      J. Hilburn, Inc,                                                                               Case No.
                                                                                      Debtor(s)            Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities              Kind of Interest
 business of holder
 Antal R. and Natasha S. Desal                                       Common            20,000
 5315 Wenonah Drive                                                  Shares
 Dallas, TX 75209

 Baseline Commerce Seed Fund LLC                                     Preferred         291,263
 Attn: Steve Anderson                                                Shares, Series
 1800 Filbert Street                                                 D
 San Francisco, CA 94123

 Baseline Commerce Seed Fund LLC                                     Preferred         15,080
 Attn: Steve Anderson                                                Shares, Series
 1800 Filbert Street                                                 E
 San Francisco, CA 94123

 Battery Ventures VIII, L.P.                                         Preferred         750,000
 c/o Battery Ventures Reservoir Woods                                Shares, Series
 930 Winter Street, Suite 2500                                       A1
 Waltham, MA 02451

 Battery Ventures VIII, L.P.                                         Preferred         194,175
 c/o Battery Ventures Reservoir Woods                                Shares, Series
 930 Winter Street, Suite 2500                                       D
 Waltham, MA 02451

 Battery Ventures VIII, L.P.                                         Preferred         300,165
 c/o Battery Ventures Reservior Woods                                Shares, Series
 930 Winter Street, Suite 2500                                       E
 Waltham, MA 02451

 Battery Ventures VIII,L.P.                                          Preferred         2,527,216
 c/o Battery Ventures Reservior Woods                                Shares, Series
 930 Winter Street, Suite 2500                                       A2
 Waltham, MA 02451

 Battery Ventures, VIII                                              Preferred         1,385,759
 c/o Battery Ventures Reservior Woods                                Shares, Series
 930 Winter Street, 2500                                             C
 Waltham, MA 02451

 Battery Ventures, VIII, L.P.                                        Preferred         940,438
 c/o Battery Ventures Reservior Woods                                Shares, Series
 930 Winter Street, Suite 2500                                       B
 Waltham, MA 02451




Sheet 1 of 5 in List of Equity Security Holders
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 In re:    J. Hilburn, Inc,                                                                        Case No.
                                                                                      Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                          (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 Bridgescale Partners                                                Preferred         1,616,553
 Attn: Matthew Cowan                                                 Shares, Series
 2200 Sand Hill Road, #240                                           C
 Menlo Park, CA 94025

 Bridgescale Partners                                                Preferred         233,010
 c/o Matthew Cowan                                                   Shares, Series
 2200 Sand Hill Road, #240                                           D
 Menlo Park, CA 94025

 Bridgescale Partners                                                Preferred         95,760
 Attn: Matthew Cowen                                                 Shares, Series
 2200 Sand Hill Road, #240                                           E
 Menlo Park, CA 94025

 Buaite Againn, LLP                                                  Common            1,412,769
 c/o Elevage Capital Management LLC                                  Shares
 7001 Preston Road, Suite 400
 Dallas, TX 75205

 Corbett Sterling Mermis                                             Common            25,000
 710 Colorado Street, #9D                                            Shares
 Austin, TX 78701

 Darrin and Lori Powell                                              Common            62,688
 6903 Lomo Alto                                                      Shares
 Dallas, TX 75205

 Four R Partners,Ltd.                                                Common            215,375
 c/o Rosebud Enterprises, Inc.                                       Shares
 3811 Turtle Creek Blvd., Suite 1400
 Dallas, TX 75219

 Guy Freeman Josselyn IV                                             Common            25,000
 8400 San Benito Way                                                 Shares
 Dallas, TX 75218

 Heather Inocencio                                                   Commons           16,166
                                                                     Shares

 Ian Charles                                                         Preferred         25,000
 3429 Beverly Drive                                                  Shares, Series
 Dallas, TX 75205                                                    A1

 JET Land and Cattle Company, Ltd.                                   Common            20,000
 Attn: James W. Traweek, Jr.                                         Shares
 2100 McKinney Avenue, Suite 1770
 Dallas, TX 75201


List of equity security holders consists of 5 total page(s)
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 In re:    J. Hilburn, Inc,                                                                       Case No.
                                                                                      Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                          (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 John Antos                                                          Preferred         50,000
 c/o Value Creation Group, Inc.                                      Shares, Series
 6215 Yellow Rock Trail                                              A1
 Dallas, TX 75248

 Lawrence Hagenbuch                                                  Common            25,000
 4309 Larchmont                                                      Shares
 Dallas, TX 75205

 Lighhouse Capital Partners VI, LP                                   Preferred         5,663
 Attn: Grace Gillen                                                  Shares, Series
 3555 Alameda de las Pulgas, Suite 200                               E
 Menlo Park, CA 94025

 Lighthouse Capital Partners VI, LP                                  Preferred         68,040
 Attn: Grace Gillen                                                  Shares, Series
 3555Alameda de las Pulgas, Suite 200                                A2
 Menlo Park, CA 94025

 Lighthouse Capital Partners VI, LP                                  Preferred         92,378
 Attn: Grace Gillen                                                  Shares, Series
 3555 Alameda de las Pulgas, Suite 200                               C
 Menlo Park, CA 94025

 Lighthouse Capital Partners VI, LP                                  Preferred         16,991
 Attn: Grace Gillen                                                  Shares, Series
 3555 Alameda de las Pulgas, Suite 200                               D
 Menlo Park, CA 94025

 Lotus Holdings, Ltd.                                                Common            743,799
 Attn: Veeral Rathod                                                 Shares
 2900 McKinnon Street, Unit 805
 Dallas, TX 75201

 Marc Andrew Croggon                                                 Common            265,652
 3800 Club Drive                                                     Shares
 Atlanta, GA 30319

 Marc Andrew Croggon                                                 Preferred         50,000
 3800 Club Drive                                                     Shares, Series
 Atlanta, GA 30319                                                   A1

 Marsha A. Hudson                                                    Common            25,000
 601 Fairway                                                         Shares
 Fort Scott, KS 66701

 Orlando Ventures, LLC                                               Preferred         50,000
 14947 Daneway Drive                                                 Shares, Series
 Frisco, TX 75035                                                    A1

List of equity security holders consists of 5 total page(s)
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 In re:    J. Hilburn, Inc,                                                                        Case No.
                                                                                      Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                          (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities      Kind of Interest
 business of holder

 RHSC, LLC                                                           Common            82,688
 Attn: J. Sean Lemoine                                               Shares
 6128 Penrose Avenue
 Dallas, TX 75214

 South China (Jersey) Holdings                                       Common            572,917
 49 Austin Road                                                      Shares
 Kowloan
 Hong Kong

 South China (Jersey) Holdings                                       Preferred         1,941,748
 c/o TAL Apparel Limited                                             Shares, Series
 4/F TAL Building                                                    D
 49 Austin Road
 Kowloon, Hong Kong

 South China (Jersey) Holdings                                       Preferred         1,250,001
 c/o TAL Apparel Limited                                             Shares, Series
 4/F TAL Building                                                    E
 49 Austin Road
 Kowloon, Hong Kong

 Susan Haneman Rogol                                                 Common            50,000
 780 Boylston Street, 27D                                            Shares
 Boston, MA 02199

 Tenmas, LLC                                                         Preferred         50,000
 780 Boylston Street, 27D                                            Shares, Series
 Boston, MA 02199                                                    A1

 Wick Family Holdings, L.P.                                          Comon Shares 44,443
 Attn: Todd Phillips
 2100 Ross Avenue, Suite 950
 Dallas, TX 75201

 Wick Family Holdings, LP                                            Preferred         25,000
 Attn: Todd Phillips                                                 Share, Series
 2100 Ross Avenue, Suite 950                                         A1
 Dallas, TX 75201

 Wick Phillips, LLP                                                  Common            42,171
 Attn: Todd Phillips                                                 Shares
 2100 Ross Avenue, Suite 950
 Dallas, TX 75201




List of equity security holders consists of 5 total page(s)
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 In re:    J. Hilburn, Inc,                                                                              Case No.
                                                                                     Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the Chief Executive Officer of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information
and belief.



 Date April 30, 2020                                                         Signature /s/ David DeFeo
                                                                                            David DeFeo

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 5 total page(s)
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 Fill in this information to identify the case:

 Debtor name         J. Hilburn, Inc,

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration     List of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 30, 2020                          X /s/ David DeFeo
                                                                       Signature of individual signing on behalf of debtor

                                                                       David DeFeo
                                                                       Printed name

                                                                       Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION



 IN RE:                                           §                  CHAPTER 11
                                                  §
 J. HILBURN, INC.,                                §             CASE NO. __________
                                                  §
                 DEBTOR.                          §
                                                  §

                 DECLARATION FOR ELECTRONIC FILING OF
          BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)

PART I: DECLARATION OF PETITIONER:

        As an individual debtor in this case, or as the individual authorized to act on behalf of the
corporation, partnership, or limited liability company seeking bankruptcy relief in this case, I
hereby request relief as, or on behalf of, the debtor in accordance with the chapter of title 11,
United States Code, specified in the petition to be filed electronically in this case. I have read the
information provided in the petition and in the list of creditors to be filed electronically in this
case and I hereby declare under penalty of perjury that the information provided therein, as well
as the social security information disclosed in this document, is true and correct. I understand
that this Declaration is to be filed with the Bankruptcy Court within seven (7) business days after
the petition and lists of creditors have been filed electronically. I understand that a failure to file
the signed original of this Declaration will result in the dismissal of my case.

       □       [Only include for Chapter 7 individual petitioners whose debts are primarily
               consumer debts] – I am an individual whose debts are primarily consumer debts
               and who has chosen to file under chapter 7. I am aware that I may proceed under
               chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
               available under each chapter, and choose to proceed under chapter 7.

       □       [Only include if petitioner is a corporation, partnership or limited liability
               company] – I hereby further declare under penalty of perjury that I have been
               authorized to file the petition and list of creditors on behalf of the debtor in this
               case.

Dated: April 30, 2020                   /s/ David DeFeo
                                       Debtor                                  Joint Debtor

PART II: DECLARATION OF ATTORNEY:
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        I declare under penalty of perjury that: (1) I will give the debtor a copy of all documents
referenced by Part I herein which are filed with the United States Bankruptcy Court; and (2) I
have informed the Debtor, if an individual with primarily consumer debts, that he or she may
proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
relief available under each such chapter.

Dated: April 30, 2020                                  /s/Patrick J. Neligan, Jr.
                                                             Patrick J. Neligan, Jr.
